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      1.        The 6,362,986 patent is not in the same patent family as either the

   7,525,408 or 7,772,955 patents. Compare Ex. 8 with Ex. 9 and Ex. 10.

      2.        MPS has maintained that it lacked pre-suit knowledge of the ’408 and

   the ’955 patents, as it has informed Volterra. Ex. 7, p. 10; Ex. 14, 108:13-20; 111:11-

   23; Ex. 11 , 73:14-17; 74:24-75:02; 76:05-15.

      3.        Volterra alleged in its Second Amended Complaint that MPS had pre-

   suit knowledge of the ’408 and ’955 patents based on: (1) notifications from

   component manufacturer                                 ; (2) discussions with

                (3) discussions with a NVIDIA Corporation engineer; (4) dissertations

   by Dr. Jinghai Zhou and Dr. Yan Dong; and (5) the reputation of Volterra’s coupled

   inductor IP within the industry. D.I. 71, ¶¶45, 63. Volterra’s operative Infringement

   Contentions incorporate the above allegations by reference. Ex. 5, p. 25-38.

      4.        Fact Discovery Closed on September 7, 2021. D.I. 195.

      5.        Regarding the first allegation, no communication between              and

   MPS referring to either ’408 or ’955 patent was produced during discovery.

      6.                                         email communication to MPS did not

   reference either the ’408 or the ’955 patents. Ex. 11, 45:20-24 and Ex. 12.

      7.        No deponent testified that         specifically notified MPS of the ’408

   or ’955 patent.




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      8.        Regarding the second allegation, no communications between            and

   MPS referring to either ’408 or ’955 patent was produced during discovery.

      9.        No deponent testified that        notified MPS of the ’408 or ’955 patent.

      10.       Volterra employee Rizwan Khalid’s testimony identifies a text chain

   between him and an           employee discussing              communication with

                                                    but this          makes no reference

   to any specific patents being discussed. Ex. 15, 25:9-17; 33:7-38:7; Ex. 16.

      11.       No       employee verified this hearsay.

      12.       Regarding the third allegation, no communication between any

   NVIDIA engineer and MPS referring to either ’408 or ’955 patent was produced

   during discovery.

      13.       No deponent testified that any discussions between NVIDIA Engineers

   and MPS referred to ’408 or ’955 patent.

      14.




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      15.      Regarding the fourth allegation, Dr. Zhou’s dissertation does not have

   citations to either the ’408 or ’955 patents. See Ex. 19, MAXIM_11507-11516. Dr.

   Zhou’s dissertation is dated April 22, 2005, and predates the issuance of the ’408

   and ’955 patents, which were issued on April 28, 2009 and August 10, 2010

   respectively. Compare Ex. 19, MAXIM_11320 with Ex. 9 and Ex. 10.

      16.      Dr. Zhou did not testify that he was aware of either ’408 or ’955 patent.

   Ex. 20, 166:20-24; 168:03-05.

      17.      Dr. Dong’s dissertation also does not contain any citations to the ’408

   or ’955 patents, but instead only “cites to several papers by Mr. Sullivan.” See Ex.

   5, pp. 17-18, 20-21; Ex. 24, MAXIM_11040-11046 at nn. 14, 40-42, 53-54.

      18.      Dr. Dong was not deposed.

      19.      Regarding the fifth allegation, while MPS was generally aware of the

   existence of Volterra as a company, MPS has maintained it was not familiar with

   Volterra’s work or its products. Ex. 20, 113:10-21; Ex. 14, 49:22-50:06.

      20.      Further, coupled inductors are a technology that predated the asserted

   patents in this case. Ex. 8, 1:48-59; Ex. 9, 1:59-2:17; Ex. 10, 1:59-2:17; Ex. 20,

   15:14-20.




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             CERTIFICATE OF COMPLIANCE WITH STANDING ORDER
                         REGARDING BRIEFING

         I hereby certify that the foregoing Defendant Monolithic Power Systems,

   Inc’s Concise Statement of Facts In Support Of Their Motion For Summary

   Judgment (No. 2) (No Induced Or Willful Infringement For The ’408 And

   ’955 Patents) complies with the typeface requirements and word limits of

   Paragraph 20(c) of the Scheduling Order entered in this case (D.I. 69). This brief

   has been prepared in 14-Point Times New Roman and contains 616 words,

   excluding the cover page, table of contents, table of authorities, signature block,

   and this certificate of compliance.



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                           CERTIFICATE OF SERVICE

               I, Nathan R. Hoeschen, hereby certify that on November 19, 2021,

   this document was served on the persons listed below in the manner indicated:

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